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                       IN THE UNITED STATES DISTRICT COURT
                                                                              Flliis
                        FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 UNITED STATES OF AMERICA §
                                     § CRIMINAL NO. 6:24-CR- ri.j
 V.                                 §
                                                    § JUDGES
                                                    §
 JAVIER MIRANDA § SEALED

                                       INDICTMENT

 THE UNITED STATES GRAND JURY CHARGES:

                                        COUNT ONE

                                            Violation: 21 U.S.C. § 846
                                            (Conspiracy to Distribute and Possess with
                                            Intent to Distribute Cocaine)

         Beginning in or about January 2022, the exact date being unknown to the United

 States Grand Jury, and continuing thereafter until at least the date of the return of this

 indictment, in the Eastern District of Texas and elsewhere, Javier Miranda, did

 knowingly and intentionally combine, conspire, confederate, and agree with others, both

 known and unknown to the United States Grand Jury, to violate a law of the United

 States of America, to wit, 21 U.S.C. § 841(a)(1), prohibiting the possession with intent to

 distribute and distribution of 50 grams or more of cocaine, a Schedule II controlled

 substance.


         In violation of 21 U.S.C. § 846.




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                                        COUNT TWO

                                               Violation: 18 U.S.C. § 922(o)
                                               (Illegal Transfer of a Machinegun)

         On or about October 27, 2022, in the Eastern District of Texas, the defendant,

 Javier Mir nda, did knowingly possess and unlawfully transfer a machinegun, to wit: a

 machinegun conversion device also known as a Glock Switch.

         In violation of 18 U.S.C. § 922(o).

                                      COU T THREE

                                               Violation: 18 U.S.C. § 933
                                               (Trafficking in Firearms)

        Beginning in or about January 2022, the exact date being unknown to the United

 States Grand Jury, and continuing thereafter until at least the date of the return of this

 indictment, in the Eastern District of Texas and elsewhere, Javier Miranda, did

 knowingly and intentionally combine, conspire, confederate, and agree with others, both

 known and unknown to the United States Grand Jury, to ship, transport, transfer, cause to

 be transported, and o herwise dispose of one and more machineguns, to wit: Glock

 Switches, to another person, in and affecting interstate and foreign commerce, knowing

 and having reasonable cause to believe that the use, carrying, and possession of a firearm

 by the recipient would constitute a felony (as defined in section 932(a)),

         In violation of 18 U.S.C. § 933.




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              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
            Pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d , & 28 U.S.C. § 2461

        As the result of committing one or more of the foregoing offenses alleged in this
 indictment, the defendants herein shall forfeit to the United States, pursuant to 21 U.S.C.
 § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461:

         1. any pro erty constituting, or derived from, and proceeds the defendants
               obtained, directly or indirectly, as the result of such violations;

        2. any of the defendants property used, or intended to be used, in any manner
                 or part, to commit, or to facilitate the commission of, such violations,
                 and/or;

         Firearm(s) and Ammunition:

        Any and all firearms, ammunition and accessories.

         Cash Proceeds:

        A sum of money equal to $25,000.00 in United States currency and all interest and
        proceeds traceable thereto, representing the amount of proceeds obtained by the
        defendants as a result of the offense(s) alleged in this indictment, for which the
        defendants are personally liable.

         Substitute Assets

        If any of the property described above as being subject to forfeiture, as a result of
        any act or omission of the defendants:

                 (a) cannot be located upon the exercise of due diligence;
                 (b) has been transferred or sold to, or deposited with a third person;
                 (c) has been placed beyond the jurisdiction of the court;
                 (d) has been substantially diminished in value; or
                 (e) has been commingled with other property which cannot be
                        subdivided without difficulty;

        it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek
        forfeiture of any other property of the defendants up to the value of the above
        forfeitable property, including but not limited to all property, both real and
        personal owned by the defendants.



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 By virtue of the commission of the offenses alleged in this indictment, any and all interest
 the defendants have in the above-described property is vested in the United States and
 hereby forfeited to the United States pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and
 28 U.S.C. §2461.

                                                  A TRUE BILL



                                                  GRAND JURY FO EPERSON

 DAMIEN M. DIGGS
 UNITED STATES ATTORNEY



 DUSTIN FARAHNAK                                  Date
 Assistant United States Attorney




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA §
                                               § CRIMINAL NO. 6:24-CR-
 V.                                            §
                                               § JUDGES
                                               9
 JAVIER MIRANDA                                § SEALED

                               NOTICE OF PENALTY

                                   COUNT ONE

        Violation:               21 U.S.C. § 846

        Penalty:                 Imprisonment for a term of not more than 20 years; a
                                 fine not to exceed $1,000,000, or both; and a term of
                                 supervised release of at least 3 years.


        Special Assessment:      $100 each count.

                                   COUNT TWO

        Violation:               18 U.S.C. § 922(o)

        Penalty:                 Imprisonment for not more than 10 years, a fine not
                                 to exceed $250,000, or both, and supervised release of
                                 not more than 3 years.


        Special Assessment:      $100.00 each count

                                  COUNT THREE

        Violation:               18 U.S.C. §933

        Penalty:                 Imprisonment for not more than 15 years, a fine not
                                 to exceed $250,000, or both, and supervised release of
                                 not more than 3 years.


         Special Assessment:     $100.00 each count




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